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                                                              Filed: 7/6/2023
                                                                          Lisa David, District Clerk
                                                                          Williamson County, Texas
                                                                          Michele Darlene Rodriguez

                                            23-1074-C395
                              CAUSE NO. ____________

X CORP., SUCCESSOR IN INTEREST                §          IN THE DISTRICT COURT OF
TO TWITTER, INC.                              §
                                              §
      Plaintiff,                              §
                                              §
v.                                            §          WILLIAMSON COUNTY, TEXAS
                                              §
MARK SCHOBINGER                               § Williamson County - 395th Judicial District Court
                                              §
      Defendant.                              §          ____ JUDICIAL DISTRICT


            X CORP.’S VERIFIED ORIGINAL PETITION AND
         APPLICATION FOR TEMPORARY RESTRAINING ORDER,
        TEMPORARY INJUNCTION, AND PERMANENT INJUNCTION

      Plaintiff X Corp., successor in interest to Twitter, Inc. (“Twitter”), files this Verified

Petition and Application for Temporary Restraining Order, Temporary Injunction, and

Permanent Injunction against Defendant Mark Schobinger (“Schobinger”).

                                    INTRODUCTION

      1.       Schobinger was Head of Compensation and Benefits at Twitter until his

recent resignation on May 20, 2023. In this role, Schobinger had access to Twitter’s most

sensitive and confidential information concerning its employees’ compensation.

Accordingly, at the outset of his employment with Twitter, Schobinger signed an

Employee Invention Assignment and Confidentiality Agreement (the “Agreement”),

under which he agreed to, among other things, refrain from using or disclosing Twitter’s

confidential information and to hold same in the strictest confidence, return all Twitter

property (including documents and information) upon separating from Twitter or upon

Twitter’s request, prevent any unauthorized use or disclosure of Twitter’s confidential

information, and cooperate with Twitter, including by providing a sworn declaration, to

confirm the return of property and information. Despite his contractual and fiduciary

                                              1
                                                                      Envelope# 77280820
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obligations, both before and shortly after announcing his resignation, Schobinger

accessed Twitter documents containing confidential and sensitive information and sent

or uploaded certain of such documents to his personal email and personal Google Drive

accounts.     These documents include, among others, Twitter’s Compensation Detail

Report, which contains personal identifying and compensation information for 2,251

Twitter employees worldwide and triggered an investigation pursuant to regulatory

requirements all over the world given the highly sensitive compensation data involved.

In addition to containing numerous lines of personal and confidential data concerning

Twitter’s employees, the Compensation Detail Report also contains information

regarding employees’ participation in Twitter’s Performance Bonus Plan (“PBP”).1

        2.      Because Schobinger has absolutely no legal right to retain Twitter’s highly

sensitive and confidential information and taking such information violates his

Agreement and the privacy rights of Twitter employees, Twitter sent Schobinger a letter

on June 13, 2023, reminding him of his nondisclosure obligations under the Agreement,

demanding that he preserve and not delete evidence in light of this potential litigation,

requesting that he identify all Twitter documents in his possession and the individuals

and entities with whom he shared or disclosed any such documents, demanding the

return all such documents to Twitter human resources, requesting that he provide a

declaration stating that he returned all Twitter documents and information, and asking

Schobinger to submit his personal devices to a forensic review to confirm that no further

Twitter confidential information remains on those devices. Schobinger responded that


1
  The Compensation Detail Report, among other things, also includes the following information on the 2,251
Twitter employees worldwide: names, employee IDs, work locations, length of service, manager names,
leave of absence dates, email addresses, salary ranges, total and annualized base pay, restricted stock unit
(“RSU”) options information (total granted, total vested, total unvested, percentages unvested), year to date
equity granted, bonus plan eligibility, and bonus plan target percentage.

                                                     2
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same day, by letter and phone, informing Twitter that while he allegedly deleted Twitter’s

documents, which is a clear breach of his preservation obligations under applicable law

and was also directly contrary to Twitter’s request, he would nevertheless be “happy” to

submit to a forensic review to confirm that he no longer possessed Twitter’s documents.

        3.      While working to coordinate this forensic review with Schobinger, Twitter

received an email on June 16 from a lawyer representing Schobinger, informing Twitter

that Schobinger would no longer submit to a forensic review despite his prior agreement

to do so. On June 20, just four days later, Schobinger filed a class action lawsuit in the

US District Court for the Northern District of California, San Francisco Division, naming

himself as the sole class representative (the “California Lawsuit”). In the California

Lawsuit, Schobinger alleges that Twitter failed to properly pay him and a class of alleged

former and current employees bonuses under Twitter’s PBP. While Schobinger’s

allegations in the California Lawsuit are entirely baseless, as noted above, the

Compensation Detail Report that Schobinger took from Twitter conveniently contains

PBP information for all of the individuals whom he presumably now seeks to represent in

the California Lawsuit.2

        4.      Following Schobinger’s refusal to submit to the forensic review to which he

had previously agreed, Twitter continued to engage in reasonable efforts to ensure that

its confidential information was protected. As set forth in greater detail below, Twitter’s

counsel exchanged multiple emails and conferred over the phone with Schobinger’s

counsel about the confidential and sensitive nature of the information at issue and the


2
  To be clear, this lawsuit is not a response to the California Lawsuit, as evinced by the fact that Twitter
actively sought the return of the highly sensitive and confidential information Schobinger took before he
filed the California Lawsuit, and before Twitter even knew that Schobinger was retained by counsel. That
said, Schobinger cannot shield himself from his confidentiality obligations under the Agreement by filing a
separate lawsuit.

                                                     3
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need for Schobinger’s cooperation to confirm its remediation from his accounts and

devices.

      5.       Twitter’s counsel also provided Schobinger’s counsel a draft protocol of a

forensic review to ensure the remediation of Twitter documents from Schobinger’s

accounts and devices—to be paid for entirely by Twitter, to be completed by an

independent, third-party forensic analyst agreed upon by both parties, and to entirely

avoid any review by Twitter of Schobinger’s personal documents.          Consistent with

Schobinger’s obligations under Section 8(d) of his Agreement, Twitter’s counsel also

proposed that Schobinger sign a declaration to confirm that he has not used or shared

Twitter confidential information outside of his employment with Twitter.

      6.       Schobinger’s counsel, however, has rejected each of these proposals and

failed to even provide a counter-proposal    for Twitter’s consideration. These rejections

and the general resistance to Twitter’s efforts to protect its information is particularly

alarming given Twitter’s obligations to report Schobinger’s misconduct to various

international regulatory agencies as it relates to the highly sensitive identifying and

compensation information Schobinger has on 2,251 Twitter employees, many of whom

reside outside the United States.

      7.       By retaining documents and information after resigning from Twitter, by

refusing to cooperate with Twitter’s efforts to confirm that he no longer maintains such

documents and information, and by refusing to provide any meaningful assurances that

he has not disclosed and will not disclose Twitter’s information, Schobinger has breached

and is threatening to continue to breach the Agreement. The threat that Schobinger may

disclose Twitter’s confidential information is too real and damaging to ignore.

Accordingly, Twitter files this lawsuit and injunction application, asking this Court to

                                            4
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narrowly enjoin Schobinger from improperly using or disclosing Twitter’s confidential

documents and information pending a trial on the merits.

                                          PARTIES

       8.     X Corp., successor in interest to Twitter, Inc., is a Nevada corporation that

does business in Texas.

       9.     Schobinger is an individual residing in Texas whose last known address is

3354 De Coronado Trail, Round Rock, Texas 78665. Schobinger may be served with

process at his residence, through his counsel, or wherever he may be found.

                                  RELIEF REQUESTED

       10.    Twitter seeks temporary and permanent injunctive relief because there is

no adequate remedy at law for the imminent threat of irreparable harm described below.

       11.    Pursuant to Texas Rule of Civil Procedure 47(c)(5), Twitter seeks only non-

monetary relief but reserves the right to later amend its Petition to seek monetary relief

within the jurisdictional limits of this Court.

       12.    Pursuant to Texas Rule of Civil Procedure 47(d), Twitter demands a

judgment for all other relief to which it is entitled.

                             JURISDICTION AND VENUE

       13.    Pursuant to Texas Civil Practice and Remedies Code § 65.023(a), venue is

proper in Williamson County, Texas because this action seeks a writ of injunction and

Schobinger is a resident of Williamson County, Texas.

       14.    The Court has personal jurisdiction over Schobinger because he is a resident

of Texas and is thus subject to the Court’s general personal jurisdiction.




                                               5
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                                   DISCOVERY CONTROL PLAN

          15.      Under Texas Rule of Civil Procedure 190.3, Twitter intends to conduct

discovery under Discovery Control Plan – Level 3. Pursuant to its contemporaneously

filed motion, Twitter seeks expedited discovery to prepare for its temporary injunction

hearing against Schobinger. Good cause exists.

                                     FACTUAL BACKGROUND

A.        Twitter

          16.      Based in San Francisco, California, Twitter is a leading social media

platform that connects millions of people in a digital town square. Twitter’s primary

business is to innovate, develop, and maintain an existing social media platform providing

its users with the ability to “tweet” short, electronic microblogs on almost any conceivable

subject. Twitter’s workforce consists of a variety of professionals, including technical

engineers, software developers, product specialists, and, in the case of Mark Schobinger,

compensation professionals.

B.        Mark Schobinger

          17.      Twitter hired Schobinger in February 2019 as its Executive and Incentive

Compensation Director.

          18.      At the beginning of his employment, Schobinger signed his Agreement and

assumed numerous covenants to protect Twitter’s legitimate interests, including post-

employment covenants to protect Twitter’s interests in its confidential and sensitive

information.3

          19.      Under the Agreement, Schobinger “agree[d] that during and after [his]



3
    A true and correct copy of Schobinger’s Agreement is attached as Ex. 1.

                                                       6
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employment with [Twitter], [he] will hold in the strictest confidence and take all

reasonable precautions to prevent any unauthorized use or disclosure of Confidential

Information.”4       The Agreement defines Confidential Information as “information

(including, but not limited to, any and all combinations of individual items of

information) that [Twitter] or any subsidiary or affiliate of [Twitter] (‘Twitter Group’) has

or will develop, acquire, create, compile, discover or own, that has value in or to the

Twitter Group’s business which is not generally known and which [Twitter] wishes to

maintain as confidential.”5 Confidential Information includes Twitter “finances and

related financial information,”6 which includes the compensation information that

Schobinger accessed and sent himself before his separation from Twitter.

        20.     Schobinger also agreed to return to Twitter all Twitter property, including

documents and information, upon separating from Twitter or upon Twitter’s request at

any time:

        [U]pon separation from employment with [Twitter] or upon
        [Twitter]’s request at any other time, [Schobinger] will
        immediately deliver to [Twitter], and will not keep in [his]
        possession, recreate, or deliver to anyone else, any and all
        [Twitter] property including, but not limited to, Confidential
        Information, Associated Third Party Confidential Information, all
        [Twitter] equipment including all [Twitter] Electronic Media Equipment,
        all tangible embodiments of the Inventions, all electronically stored
        information and passwords to access such information, [Twitter] credit
        cards, records, data, notes, notebooks, reports, files, proposals, lists,
        correspondence, specifications, drawings, blueprints, sketches, materials,
        photographs, charts, any other documents and property, and reproductions
        of any of the foregoing items including, without limitation, any and all
        records maintained for Inventions made or contributed by me.7



4
  Id. § 7(b).
5
  Id. § 7(a).
6
  Id.
7
  Id. § 8(b) (emphasis added).

                                              7
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        21.     Schobinger agreed that if he used any personal electronic media device to

create, receive, store, review, prepare or transmit Twitter information, as he did, “[he

would] make a prompt and reasonable search for such information in good faith,

including reviewing any personal Electronic Media Equipment or personal Electronic

Media Systems to locate such information[.]”8 Schobinger further agreed that, “if [he]

locate[d] such information, [he would] notify [Twitter] of that fact and then provide

[Twitter] with a computer-useable copy of all such [Twitter] information from those

equipment and systems.”9 The Agreement does not contemplate that Schobinger may

take it upon himself to delete any documents he kept from his employment with Twitter.10

Critically, Schobinger “agree[d] to cooperate reasonably with [Twitter] to verify

that the necessary copying is completed (including upon request providing a

sworn declaration confirming the return of property and deletion of

information), and, upon confirmation of compliance by [Twitter], [to] agree

to delete and expunge all [Twitter] information[.]”11

        22.     Schobinger acknowledged that, “in the event of a breach or threatened

breach of this Agreement by [Schobinger,] [Twitter] may suffer irreparable harm which

would be difficult to calculate in monetary terms and for which damages would be an

inadequate remedy.”12 Therefore, Schobinger agreed that “[Twitter] shall be entitled, in

addition to remedies otherwise available at law or in equity, to obtain and enforce

immediately temporary restraining orders, preliminary injunctions, and final injunctions,



8
  Id. § 8(d)
9
  Id.
10
   See generally id.
11
   Id. (emphasis added).
12
   Id. § 16.

                                             8
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without the posting of a bond enjoining such breach or threatened breach.”13

C.         Schobinger Accessed and Sent Himself Documents Containing
           Twitter’s Confidential and Sensitive Information.

           23.   On May 20, 2023, Schobinger voluntarily resigned from his employment

with Twitter, effective May 26. Over the next several days, Schobinger refused to meet

with Twitter employees and attorneys in connection with transitioning his

responsibilities.     Given Schobinger’s unusual and disconcerting conduct, Twitter

launched a review of Schobinger’s activities on Twitter’s systems and learned that

Schobinger was forwarding emails to his personal email address.             After ending

Schobinger’s access to Twitter’s systems (and later ending Schobinger’s employment with

Twitter), Twitter continued examining Schobinger’s activities on his Twitter computer

and on Twitter’s systems during the months, weeks, and days leading to his separation.

           24.   Through its investigation, Twitter learned that Schobinger downloaded 120

documents in the final 20 days of his employment with Twitter. While some of these

documents included information that was likely personal to Schobinger, the vast majority

of these documents included non-personal, confidential Twitter information. As one

example, on May 5 and then again on May 22, Schobinger downloaded Twitter’s

Compensation Detail Report, which contains, among many other things, the names,

employee IDs, work locations, length of service, manager names, leave of absence dates,

email addresses, salary ranges, total and annualized base pay, restricted stock unit

(“RSU”) options information (total granted, total vested, total unvested, percentages

unvested), year to date equity granted, bonus plan eligibility, bonus plan target

percentage, and other compensation information of 2,251 Twitter employees worldwide.


13
     Id.

                                              9
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        25.     Through its investigation, Twitter also learned that Schobinger emailed

documents to his personal email account. One email Schobinger sent himself on March

3, 2023, attached the Compensation Detail Report, which, again, contains the identities,

email addresses, and compensation information of every Twitter employee worldwide.14

Another email Schobinger sent himself that same day contained a spreadsheet detailing

information about RSU options for 401 Twitter employees worldwide.15 Schobinger did

not have any legitimate reason to send these documents to his personal email during the

months before his resignation.

        26.     Through its investigation, Twitter also learned that Schobinger maintained

a personal cloud-storage account on Google Drive and uploaded documents to that

account—although it is unclear which documents he uploaded. A screenshot taken during

Twitter’s investigation demonstrates that Schobinger maintained a folder in the account

entitled “Work,” which included numerous subfolders entitled “Comp Cmte Meetings,”

“Playbooks,” “Projects,” “Reports,“ “401(k),” and “2023 Payslips.”16 The subfolders were

last modified between November 2022 and May 19, 2023. Schobinger did not have any

legitimate reason to maintain a work folder on his personal Google Drive account.

D.      Twitter Sends Schobinger a Letter Reminding Him of His Non-
        Disclosure and Preservation Obligations.

        27.     On June 13, 2023, Twitter sent Schobinger a letter advising that it was aware

of his downloading, emailing, and uploading activities and reminding Schobinger of his

obligations under the Agreement and to not disclose information that is sensitive or



14
   A true and correct copy of Schobinger’s Mar. 3, 2023, email to his personal email address, attaching the
Compensation Detail Report, is attached at Ex. 2.
15
   A true and correct copy of Schobinger’s Mar. 3, 2023, email to his personal email address, attaching the
03.01.2023 Sharework_RSU Options_HR Review, is attached at Ex. 3.
16
   A true and correct copy of the screenshot of Schobinger’s “Work” Folder is attached as Ex. 4.

                                                    10
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confidential to Twitter.17 The letter also demanded that Schobinger “take reasonable

steps to not delete or destroy any hard copies and electronically stored documents and

communications related to [his] employment with Twitter, specifically including

documents and communications related to the Twitter documents [he] accessed and

transmitted in the months and weeks before [his] separation.”18

E.         Schobinger Agreed to a Forensic Protocol to Ensure He Does Not
           Possess Twitter Documents.

           28.     Schobinger responded to Twitter’s letter the same day, first through email

and later through a phone call with a member of Twitter’s in-house legal team, Adam

Mehes. During the phone conversation, Schobinger stated that he deleted all Twitter

documents in his possession, noting that he made several of the deletions after receiving

Twitter’s letter—in disregard of Twitter’s preservation demand.                           Mehes informed

Schobinger that Twitter must verify that no Twitter documents remain on his accounts

and devices, either advertently or inadvertently, and that Twitter would send someone

from Twitter’s information security team to conduct a forensic review, which could be

conducted at Schobinger’s home for his convenience. Mehes expressly informed

Schobinger that he could oversee the review. Schobinger responded that he would be

“happy to have someone come to [his] house” and “pull up the file listing” and was “willing

to sit there with [the information security team member].” Schobinger stated that his

only concern was ensuring that the analyst did not take his personal files, which Mehes

confirmed would not occur.

           29.     Twitter began coordinating its review after Mehes’s conversation with



17
     A true and correct copy of Twitter’s June 13, 2023, Letter to Schobinger is attached as Ex. 5.
18
     Id.

                                                        11
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Schobinger.

F.      Schobinger Reneges on the Forensic Review Agreement and Otherwise
        Resists Twitter’s Efforts to Confirm the Safeguarding of Its Documents
        and Information.

        30.     On June 16, 2023, three days after Schobinger agreed to the forensic review,

Schobinger’s counsel, Shannon Liss-Riordan, contacted Mehes to inform him that

Schobinger would not engage in the forensic review.19

        31.     Since then, Twitter’s counsel engaged in multiple communications with

Schobinger’s counsel (once learning she was retained) in a concerted effort to resolve the

matter amicably to avoid the need to file the instant suit. Twitter’s counsel initially

reached out to Schobinger’s counsel to coordinate the forensic review to which Schobinger

agreed on June 13.20 Schobinger’s counsel denied that her client committed to “any such

intrusive review.”21       While Twitter’s counsel disagreed both with respect to what

Schobinger committed to and that the review proposed by Twitter was “intrusive,” she

suggested a call to “help resolve [the] dispute.”22

        32.     The lawyers spoke on the phone on June 21 after the Juneteenth holiday

and Schobinger’s counsel’s court conflict. During the call, Twitter’s counsel stressed the

goal of avoiding escalation by conducting the forensic review Schobinger agreed to before

he retained counsel. Twitter’s counsel also provided background information regarding

some of the information uploaded and emailed, including the Compensation Detail


19
   A true and correct copy of S. Liss-Riordan’s June 16, 2023, email to A. Mehes is attached as Ex. 6. In her
email to Mehes, Riordan informed him of her representation, stated that her client “affirmed” that he is not
in possession of Twitter’s confidential information, and concluded, “I trust that this takes care of your
concern.” Id. To be clear, Schobinger did not state (and Twitter was not otherwise aware) that he was
represented by counsel during Twitter’s prior communications with him.
20
   A true and correct copy of the June 17, 2023, email exchange between S. Moll to S. Liss-Riordan is
attached as Ex. 7.
21
   Id.
22
   Id.

                                                     12
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Report containing compensation information for 2,251 employees worldwide. As a result

of the highly sensitive and confidential information at play, as well as Twitter’s obligations

to report any misconduct concerning the information to various international regulatory

agencies, Twitter simply could not and cannot take Schobinger’s “word for it” and

Twitter’s counsel explained and reiterated the request for a forensic review and a

declaration as a result. Twitter’s counsel raised the possibility of entering into an agreed

forensic protocol to govern the review. Schobinger’s counsel agreed to have someone

evaluate any forensic proposal provided.

        33.     Twitter accordingly provided Schobinger a proposed forensic protocol

through which (along with a declaration), Twitter could obtain all assurances necessary

to avoid this litigation.23 Under its terms, the protocol proposed to employ a jointly-

selected, independent forensic analyst—rather than a Twitter employee working on its

information security team, as Schobinger previously agreed—to narrowly remediate from

Schobinger’s devices and accounts the confidential Twitter documents that Schobinger

had retained in his possession, such as those he had emailed to his personal email account

or maintained on his personal Google Drive account—excluding documents that are

personal to Schobinger.24          Notably, Twitter offered to pay for the entire forensic

examination.25

        34.     In the email transmitting the proposed protocol, counsel for Twitter

explained that the forensic review was narrowly tailored, necessary to complete Twitter’s




23
   A true and correct copy of S. Moll’s June 28, 2023, email to S. Liss-Riordan transmitting the protocol is
attached as Ex. 8; see also Twitter’s Proposed Protocol, a true and correct copy of which is attached as Ex.
9.
24
   Ex. 9, Proposed Protocol.
25
   Id.

                                                    13
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regulatory requirements to investigate the matter, and would not involve Twitter

accessing or viewing Schobinger’s personal documents.26 Twitter also reiterated its need

for a declaration from Schobinger attesting that he “has not shared any of Twitter’s

sensitive information either by transmitting hard copy documents or by word-of-

mouth.”27 Twitter’s counsel noted that Twitter would be happy to draft the declaration

for Schobinger to execute.28

        35.     While Schobinger’s counsel responded to the email transmitting the

forensic protocol and proposing a declaration, she neither commented on the protocol’s

or declaration’s contents or countered with alternative terms.29 Twitter’s counsel asked

that, by July 5, Schobinger confirm whether he will comply with the proposed protocol,

noting that, if not, Twitter will proceed to court.30 Schobinger’s counsel threatened to

seek “costs and other available remedies” if Twitter filed suit—presumably based on the

California Lawsuit, which post-dated Twitter’s attempts to secure its information—and

mentioned again that her client deleted Twitter documents (in contravention of Twitter’s

preservation letter).31

G.      Schobinger Files the California Lawsuit Related to the Information
        He Accessed and Sent Himself.

        36.     On June 20, seven days after Twitter first sent Schobinger its June 13 letter,

Schobinger filed the California Lawsuit, naming himself as the sole class representative.

In the California Lawsuit, Schobinger alleges that Twitter failed to properly pay him and


26
   Ex. 8, June 28, 2023, Email.
27
   Id.
28
   Id.
29
   A true and correct copy of the June 29, 2023, email exchange between S. Liss-Riordan and S. Moll is
attached as Ex. 10.
30
   Id.
31
   Id.

                                                   14
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a class of alleged similarly situated current and former employees bonuses under Twitter’s

PBP. Notably, information related to this allegation, including the identities of all PBP

recipients, is included in the Compensation Detail Report that Schobinger emailed to

himself on March 3, downloaded on May 5, and downloaded again on May 22—two days

after submitting his resignation.

                                    CAUSE OF ACTION

      37.    Twitter incorporates the above allegations as if fully set forth below.

      38.    The Agreement between Twitter and Schobinger is valid and enforceable.

      39.    Section 8(b) of the Agreement requires Schobinger to return Twitter’s

confidential and other information upon separating from Twitter or upon Twitter’s

request at any other time. Section 8(d) of the Agreement requires Schobinger to inform

Twitter about Twitter information on his personal devices, provide Twitter with

computer-usable copies of such information, and cooperate with Twitter to confirm

copying is completed, “including upon request providing a sworn declaration

confirming the return of property and deletion of information.” Section 7(b)

of the Agreement prohibits Schobinger from disclosing Twitter’s Confidential

Information, which includes the compensation information Schobinger promised to

“hold in the strictest confidence” in his position as Head of Compensation and Benefits.

      40.    Schobinger breached and is threatening to continue to breach the

Agreement by refusing to cooperate with Twitter’s efforts to confirm the safeguarding of

its information. As an initial matter, Schobinger failed to return Twitter’s confidential

and other information upon separating from Twitter and upon request from Twitter.

Schobinger also failed to provide Twitter with computer-usable copies of the information

that remained in his possession after separating from Twitter. Instead, Schobinger

                                           15
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claimed to have deleted the information–despite receiving a letter from Twitter

demanding his preservation of same and specifically instructing him not to delete–yet he

was unwilling to cooperate reasonably with Twitter by, among other things, failing to

submit to a forensic review of his devices and accounts to confirm such deletion or to

provide a sworn declaration that he did not share the information with third parties prior

to deletion (or orally before or after deletion).

       41.    Moreover, upon information and belief, Schobinger has or soon will

improperly disclose and use the confidential and sensitive information contained in the

documents he downloaded, emailed, and uploaded before separating from Twitter,

particularly the compensation information in the Compensation Detail Report, by filing

the California Lawsuit. Because Schobinger transmitted this confidential and sensitive

information to himself, refused to provide Twitter with any meaningful assurances that

he no longer possesses the information and has not shared it, and is the named plaintiff

in a class action lawsuit where he and his counsel could use this information to their

advantage and to Twitter’s detriment, Schobinger is threatening to use this information

in further breach of the Agreement.

       42.    Schobinger’s breaches and threatened breaches of the Agreement caused

and threaten to cause Twitter with imminent and irreparable harm. Twitter is therefore

entitled to prospective injunctive relief, as detailed in the Agreement. Twitter is also

entitled to attorney’s fees, plus additional sums in the event of an appeal, as further

detailed in the Agreement and Chapter 38 of the Texas Civil Practice and Remedies Code.

             APPLICATION FOR TEMPORARY RESTRAINING ORDER
                      AND TEMPORARY INJUNCTION

       43.    “A temporary injunction’s purpose is to preserve the status quo of the


                                              16
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litigation’s subject matter pending a trial on the merits.” Butnaru v. Ford Motor Co., 84

S.W.3d 198, 204 (Tex. 2002). The “status quo” is defined as “the last, actual, peaceable,

non-contested status which preceded the pending controversy.” In re Newton, 146

S.W.3d 648, 651 (Tex. 2004). Temporary injunctive relief is appropriate where the

applicant demonstrates (i) a cause of action against the defendant; (ii) a probable right to

the relief sought; and (iii) a probable, imminent, and irreparable injury in the interim.

Butnaru, 84 S.W.3d at 204.

       44.    Twitter adequately pleads a breach of contract claim against Schobinger

through this Petition.

       45.    Twitter demonstrates a right to the relief sought on its breach of contract

claim against Schobinger. “To show a probable right to recover, an applicant need not

show that it will prevail at trial . . . . Instead, to show a probable right of recovery, the

applicant must plead a cause of action and present some evidence that tends to sustain

it.” Intercontinental Terminals Co., LLC v. Vopak N. Am., Inc., 354 S.W.3d 887, 897

(Tex. App.—Houston [1st Dist.] 2011, no pet.) (citations omitted). Twitter presents

evidence demonstrating a probable right to relief on its claim against Schobinger, namely:

(i) Schobinger received access to Twitter’s confidential and sensitive information during

his employment with Twitter under numerous obligations detailed in his Agreement; (ii)

Schobinger downloaded, emailed, and uploaded documents including Twitter’s

confidential and sensitive information during the months, weeks, and days leading to his

resignation; (iii) when confronted, Schobinger admitted to deleting some of the

documents he sent himself, even after receiving Twitter’s preservation demand

instructing him not to; (iv) Schobinger agreed to submit to a forensic review to confirm

the remediation of Twitter’s information from his devices and accounts; and (v) only after

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obtaining counsel, Schobinger reneged on his forensic review agreement and has refused

to provide Twitter with any means to confirm that he actually deleted and did not disclose

its confidential and sensitive information. Moreover, Schobinger has since brought the

California Lawsuit and can benefit, and is threatening to benefit from the information he

took from Twitter, by not providing the assurances required by the Agreement and that

he promised to provide. This verified evidence “tends to sustain” Twitter’s breach of

contract claim against Schobinger. See, e.g., Universal Plant Services, Inc. v. Dresser-

Rand Group, Inc., 571 S.W.3d 346, 359 (Tex. App.—Houston [1st Dist.] 2018, no pet.)

(finding “clear and specific” evidence of a breach of contract claim where the employer

showed that the departing employees improperly accessed documents, downloaded those

documents, and emailed themselves those documents before resigning from their

employment); Schlumberger Ltd. v. Rutherford, 472 S.W.3d 881, 893-94 (Tex. App.—

Houston [1st Dist.] 2015, no pet.) (finding clear and specific evidence supporting its

breach of contract claim against a departing employee after presenting an affidavit of a

forensic expert and corporate representative detailing data that was improperly retained

and used by the departing employee).

      46.    Unless enjoined, Schobinger will cause probable, imminent, and irreparable

injury to Twitter. As Head of Compensation and Benefits, Schobinger had access to

Twitter’s most sensitive and confidential information concerning its employees’

compensation. As a result of his job duties and his promise to hold Twitter’s information

in the strictest confidence, Schobinger owed Twitter fiduciary obligations and a duty of

loyalty. Under similar facts, courts throughout Texas have consistently held that former

employees and their agents should be enjoined from using or disclosing the company’s

information pending a trial on the merits. See, e.g., Chevron U.S.A., Inc. v. Guajardo, CV

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H-17-1549, 2017 WL 2265694, at *1 (S.D. Tex. May 24, 2017) (issuing a temporary

restraining order where defendant-employee downloaded and emailed to his personal

email account confidential information and trade secrets); Keurig Dr, Pepper Inc. v.

Chenier, 4:19-CV-505, 2019 WL 3958154, at *2 (E.D. Tex. Aug. 22, 2019) (issuing a

temporary restraining order where defendant downloaded and emailed to himself

confidential and trade secret information belonging to plaintiff); Frisco Med. Ctr., LLP v.

Bledsoe, 4:12CV37, 2012 WL 12919154, at *1 (E.D. Tex. Feb. 24, 2012) (issuing a

temporary restraining order where defendant transmitted plaintiff’s confidential

information and trade secrets to a personal email account and thumb drives, reasoning

that there is material risk that confidential information could be used, disclosed,

disseminated, altered, or destroyed).

       47.    Moreover, Twitter comes to this equitable Court with clean hands. See In

re Gamble, 71 S.W.3d 313, 317 (Tex. 2002) (recognizing that an application for injunctive

relief invokes the court’s equity jurisdiction). As noted, Twitter has made multiple,

reasonable efforts to avoid this litigation by attempting to confirm two simple things: (i)

that Schobinger no longer has the highly sensitive and confidential information that he

accessed, uploaded, and emailed to his personal accounts and; (ii) that Schobinger has

not disclosed this information. These reasonable efforts include Twitter sending a letter

to Schobinger to (among other things) request his cooperation in confirming that he no

longer has Twitter documents and has not shared Twitter information; Twitter’s counsel

exchanging numerous emails and conferring over the phone with Schobinger’s counsel

detailing the confidential and sensitive nature of the information at issue and the need for

Schobinger’s cooperation to confirm its remediation from his accounts and devices;

Twitter’s counsel providing Schobinger’s counsel a draft protocol of a forensic review to

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ensure the remediation of Twitter information from Schobinger’s accounts and devices—

to be paid entirely by Twitter; and Twitter’s counsel offering to draft a narrow declaration

for Schobinger to confirm that he has not used or shared Twitter information outside of

his employment with Twitter. Tellingly, Schobinger’s counsel has rejected each of these

proposals and failed to counter.

       48.    Twitter respectfully asks the Court to enter a temporary restraining order

and, following a hearing, a temporary injunction restraining Schobinger and all others

acting in concert with him from:

              a.     directly or indirectly possessing, using, or disclosing the documents
                     and folders listed in Exhibits 11 and 12 to this Petition; and

              b.     directly or indirectly possessing, using, or disclosing information in
                     the documents and folders listed in Exhibits 11 and 12 to this Petition.

       49.    Twitter is willing to pay a reasonable bond.

                             CONDITIONS PRECEDENT

       50.    All conditions precedent for Twitter to recover for the relief requested has

occurred.

                                    JURY DEMAND
       51.    Twitter demands a jury trial.
                                PRAYER FOR RELIEF
       52.    Furthermore, Twitter respectfully requests that the Court:

              a.     Issue a temporary restraining order enjoining Schobinger in the
                     manner detailed above;

              b.     Allow Twitter to engage in limited, expedited discovery in
                     preparation for the hearing on its Temporary Injunction Application;

              c.     After notice and a hearing, issue a temporary injunction enjoining
                     Schobinger in the manner detailed above;

              d.     After a trial on the merits, issue a permanent injunction enjoining

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                  Schobinger in the manner detailed above;

            e.    Award Twitter its attorneys’ fees and costs associated with filing this
                  lawsuit; and

            f.    Grant Twitter all other relief, in law and in equity, to which it may be
                  entitled.


Dated: July 6, 2023                         Respectfully submitted,


                                            /s/ Stefanie R. Moll
                                            Stefanie R. Moll
                                            State Bar No. 24002870
                                            Email: stefanie.moll@morganlewis.com
                                            T. Cullen Wallace
                                            State Bar No. 24072412
                                            Email: cullen.wallace@morganlewis.com
                                            John P. Bramble
                                            State Bar No. 24101544
                                            Email: john.bramble@morganlewis.com
                                            MORGAN LEWIS & BOCKIUS LLP
                                            1000 Louisiana Street, Suite 4000
                                            Houston, TX 77002
                                            T: 713.890.5000
                                            F: 713.890.5001




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                              CAUSE NO. ____________

X CORP., SUCCESSOR IN INTEREST              §          IN THE DISTRICT COURT OF
TO TWITTER, INC.                            §
                                            §
        Plaintiff,                          §
                                            §
v.                                          §          WILLIAMSON COUNTY, TEXAS
                                            §
MARK SCHOBINGER                             §
                                            §
        Defendant.                          §          ____ JUDICIAL DISTRICT

      VERIFICATION IN SUPPORT OF X CORP.’S VERIFIED PETITION AND
     APPLICATION FOR TEMPORARY RESTRAINING ORDER, TEMPORARY
               INJUNCTION, AND PERMANENT INJUNCTION

       My name is Adam Mehes. My date of birth is         REDACTED . My address is
                 REDACTED                      . I am Head of Litigation for X Corp.,
successor in interest to Twitter, Inc. (“Twitter”). I have reviewed Twitter’s Verified
Petition and Application for Temporary Restraining Order, Temporary Injunction, and
Permanent Injunction (“Petition”). I have personal knowledge of the statements in
paragraphs 16-22, 27, 28, and 30 of the Petition. I declare under penalty of perjury that
those statements are true and correct.

        Executed on July 6, 2023 in Travis County, State of Texas.


                                            _________________________
                                                    Adam Mehes
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                                          REDACTED                REDACTED


      REDACTED
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                              CAUSE NO. ____________

X CORP., SUCCESSOR IN INTEREST              §          IN THE DISTRICT COURT OF
TO TWITTER, INC.                            §
                                            §
        Plaintiff,                          §
                                            §
v.                                          §          WILLIAMSON COUNTY, TEXAS
                                            §
MARK SCHOBINGER                             §
                                            §
        Defendant.                          §          ____ JUDICIAL DISTRICT

      VERIFICATION IN SUPPORT OF X CORP.’S VERIFIED PETITION AND
     APPLICATION FOR TEMPORARY RESTRAINING ORDER, TEMPORARY
               INJUNCTION, AND PERMANENT INJUNCTION

        My name is Stefanie R. Moll. My date of birth is REDACTED . My work address is
1000 Louisiana Street, Suite 4000, Houston, Texas 77002, United States. I am a partner
at the law firm Morgan, Lewis & Bockius LLP and am lead counsel in the above-referenced
matter for X Corp., successor in interest to Twitter, Inc. (“Twitter”). I have reviewed
Twitter’s Verified Petition and Application for Temporary Restraining Order, Temporary
Injunction, and Permanent Injunction (“Petition”). I have personal knowledge of the
statements in paragraphs 31-36 of the Petition. I declare under penalty of perjury that
those statements are true and correct.

        Executed on July 6, 2023 in Harris County, State of Texas.




                                                     Stefanie R. Moll
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             EXHIBIT 1
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            EXHIBIT 2
Google Vault - Fwd: compton report attached                      https://ediscovery.google.com/discovery/DisplayMessage?m=f41498b1...
                           Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 38 of 88


         Fwd: compton report attached
         mschobinger@twitter.com Mark Schobinger                Friday, March 3, 2023 at 3:49:57 PM Pacific Standard Time
         To: markschobinger@gmail.com



            ---------- Forwarded message ---------
            From: Mark Schobinger <mschobinger@twitter.com>
            Date: Fri, Mar 3, 2023 at 8:16 AM
            Subject: compton report attached
            To: Victoria Yamamoto <vto@twitter.com>



            Here is the report that includes the ACQ org employees...
            --
            Mark Schobinger | Head of Compensation

            Attachments:
            CR - Compensation Detail Report_Compton 03032023 2023-03-03 12_14 CST.xlsx 867k




1 of 1                                                                                                              2023/06/16 12:14
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            EXHIBIT 3
Google Vault - Fwd: [Please approve] Deferred Cash Comp Payout - 3/1   https://ediscovery.google.com/discovery/DisplayMessage?m=f41498b1...
                          Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 40 of 88


         Fwd: [Please approve] Deferred Cash Comp Payout - 3/1
         mschobinger@twitter.com Mark Schobinger                       Friday, March 3, 2023 at 3:49:29 PM Pacific Standard Time
         To: markschobinger@gmail.com



           ---------- Forwarded message ---------
           From: Ling Hui <lhui@twitter.com>
           Date: Wed, Mar 1, 2023 at 2:29 PM
           Subject: [Please approve] Deferred Cash Comp Payout - 3/1
           To: Lindsay Chapman <lchapman@twitter.com>, Stacey Conti <sconti@twitter.com>, Mark Schobinger
           <mschobinger@twitter.com>
           CC: Fai Cheung <fcheung@twitter.com>




              REDACTED
           Thanks,
                      Ling Hui | Dir., Finance Systems
                      She/Her | San Francisco, CA
                      Follow me @oOolinghuioOo
           --
           Mark Schobinger | Head of Compensation

           Attachments:
           03.01.2023 Sharework_RSU Options_ HR Review.xlsx 145k




1 of 1                                                                                                                    2023/06/16 12:15
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            EXHIBIT 4
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             EXHIBIT 5
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          June 13, 2023


          Mark Schobinger
          markschobinger@gmail.com

          Re: Conﬁdential Reminder about Your Contractual Obligations

          Dear Mark,

          We are sending you this letter as a reminder of your obligations to comply with your
          contractual and statutory obligations to Twitter, to request that you return all Twitter
          documents and information that remain in your possession, and, as further outlined
          below, to request that you cooperate with Twitter in its eﬀorts to ensure that no such
          Twitter documents or information remain in your possession.

          We recently learned that in the months and weeks before your separation from Twitter,
          you accessed Twitter documents on Twitter’s cloud-storage system, downloaded Twitter
          documents from the cloud-storage system to your desktop, uploaded Twitter documents
          to your personal Google Drive account, and emailed Twitter documents to your personal
          Google Mail account. These Twitter documents you accessed and transmitted include
          information that is conﬁdential and sensitive to Twitter, including, but not limited to,
          compensation information and litigation-strategy information protected by the
          attorney-client privilege.

          As a reminder, using or disclosing this conﬁdential and sensitive information outside of
          your employment with Twitter qualiﬁes as a breach of your Employee Invention
          Assignment and Conﬁdentiality Agreement (the “Agreement”). Under the Agreement, you
          agreed not to use or disclose “Conﬁdential Information,” which the Agreement deﬁnes to
          include “information . . . that the Company or any subsidiary or aﬃliate of the Company .
          . . has or will develop, acquire, create, compile, discover or own, that has value in or to
          the Twitter Group’s business which is not generally known or which the Company wishes
          to maintain as conﬁdential.” Such Conﬁdential Information includes the compensation
          and litigation-strategy information in the Twitter documents you accessed and
          transmitted, which has value to Twitter, which is not generally known outside of Twitter,
          and which Twitter wishes to maintain as conﬁdential.

          Using and disclosing this conﬁdential and sensitive information outside of your
          employment with Twitter also qualiﬁes as misappropriation under the Texas Uniform
          Trade Secrets Act (“TUTSA”), which allows employers to seek expedited injunctive relief
          to protect their information. See, e.g., Chevron U.S.A., Inc. v. Guajardo, CV H-17-1549,
          2017 WL 2265694, at *1 (S.D. Tex. May 24, 2017) (issuing a temporary restraining order
          where the defendant-employee downloaded and emailed to his personal email account
          conﬁdential information and trade secrets); Keurig Dr Pepper Inc. v. Chenier,
          4:19-CV-505, 2019 WL 3958154, at *2 (E.D. Tex. Aug. 22, 2019) (issuing a temporary
          restraining order where the defendant-employee downloaded and emailed to himself
          conﬁdential and trade secret information belonging to his employer); Maxim Healthcare
          Staﬃng Services, Inc. v. Mata, No. SA-21-CV-01100-XR, 2022 WL 106153, at *5 (W.D.
          Tex. Jan. 11, 2022) (issuing a temporary injunction where the defendant-employee
          emailed conﬁdential and trade secret information to himself before his separation from
          his employer).
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          Given the seriousness of this situation, I am informing you of your obligation to take
          reasonable steps to not delete or destroy any hard copies and electronically stored
          documents and communications related to your employment with Twitter, speciﬁcally
          including document and communications related to the Twitter documents you accessed
          and transmitted in the months and weeks before your separation. This includes, but is
          not limited to, emails, text messages, iMessages, WhatsApp messages, Facebook
          messages, and any other types of digital documents and communications that you may
          have sent yourself or any other person or entity. We trust that you will preserve, until
          directed otherwise, all hard copies and electronically stored documents and
          communications. In the event of a dispute arising out of any failure to preserve
          documents, we will rely on this letter as evidence of our request and notice to you of your
          preservation obligations.

          Finally, we respectfully ask that by 12:00 p.m. Central Daylight Time on June 16, 2023,
          you respond to this letter in writing 1) identifying all Twitter documents and information
          that you still maintain in your possession, 2) the current location of all Twitter documents
          and information that you still maintain in your possession, and 3) all individuals and
          entities with whom you have shared or disclosed, either directly or indirectly, any Twitter
          documents or information that you maintain in your possession. We also respectfully
          request that by that same time, you return all such documents and information by
          emailing it to Twitter Human Resources at alum@twitter.com, copying me, and further
          conﬁrming that you are willing to provide a declaration stating that you have returned all
          Twitter information and no longer possess same and conﬁrming that you are willing to
          submit your personal computer to a forensic review by an independent third-party
          forensic analyst to ensure that you do not advertently or inadvertently possess any such
          information. From there, we can coordinate your execution of that declaration and the
          forensic review.

          We appreciate your contributions to Twitter and thank you in advance for your
          cooperation with this letter. If we do not hear from you by 12:00 p.m. on June 16th,
          however, we will assume that you do not intend to cooperate with this letter and will take
          appropriate legal steps to protect Twitter’s information. Please let us know if you have
          any questions.

          Sincerely,



          Adam Mehes
          Acting Head of Litigation
          X Corp.
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            EXHIBIT 6
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On Fri, Jun 16, 2023 at 5:26 AM Shannon Liss-Riordan <sliss@llrlaw.com> wrote:
 Adam -

 Please be advised that our firm represents Mark Schobinger, and we are in receipt of the exchange below and your
 attached letter. Mr. Schobinger has affirmed for you that he is not in possession of any Twitter sensitive or confidential
 materials.

 I trust that this takes care of your concern.

 Shannon Liss-Riordan
 Lichten & Liss-Riordan, P.C.
 729 Boylston Street, Suite 2000
 Boston, Massachusetts 02116
 Tel: (617) 994-5800
 Fax: (617) 994-5801
 sliss@llrlaw.com
 www.llrlaw.com

 Begin forwarded message:


                          From: Mark Schobinger <markschobinger@gmail.com>
                          Date: June 13, 2023 at 3:45:30 PM EDT
                          To: Adam Mehes <amehes@twitter.com>
                          Cc: Mark Schobinger <markschobinger@gmail.com>
                          Subject: Cease and Desist

                          Adam,



                          Hi. I am acknowledging receipt of your letter. I am not in possession of
                          any Twitter sensitive or confidential information and have returned my
                          laptop. While employed I was asked to work on a variety of sensitive
                                                             1
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     matters, some of which required me to keep local copies at the
     request of Mary Hansbury in order to work expeditiously on her
     timetable. I did this during my tenure at Twitter, and as a professional
     responded to inquiries all the way through the date my access was
     revoked. When I gave notice, I was asked to make sure all sensitive
     files or anything related to various legal holds I was already on were on
     goggle drive and/or box as part of my transition. I complied with that
     request. Reports, if any, that were maintained locally were
     immediately removed after confirming the files existed on Twitter’s
     secure drives (Google drive and/or box) to ensure I departed with no
     Twitter documents except for my pay slips and grant agreement
     documents.
     By receipt of this email, I confirm I do not have access to any Twitter
     sensitive documents.

     Regards,
     Mark



     Regards,
     Mark

             On Jun 13, 2023, at 1:42 PM, Adam Mehes
             <amehes@twitter.com> wrote:




             Dear Mark,


             Please see the attached letter. Feel free to reach out
             to me at this email or by phone at 347-417-4940 if you
             have any questions.


             Thanks,
             Adam




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             EXHIBIT 7
                 Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 50 of 88


Bramble, John

From:                              Shannon Liss-Riordan <sliss@llrlaw.com>
Sent:                              Monday, June 19, 2023 8:05 AM
To:                                Moll, Stefanie R.
Cc:                                Wallace, Thomas Cullen; Bramble, John; Bradley Manewith
Subject:                           Re: Mark Schobinger


[EXTERNAL EMAIL]
Stefanie - I'm out today but can talk after a court hearing tomorrow afternoon or I have more availability on Wednesday.

-----------------------------
Shannon Liss-Riordan
Lichten & Liss-Riordan, P.C.
729 Boylston Street, Suite 2000
Boston, Massachusetts 02116
Tel: (617) 994-5800
Fax: (617) 994-5801
sliss@llrlaw.com
www.llrlaw.com



        On Jun 18, 2023, at 10:41 AM, Moll, Stefanie R. <stefanie.moll@morganlewis.com> wrote:



        Shannon,

        Not surprisingly, I disagree both with respect to what Mr. Schobinger committed to do and that the
        review Twitter proposed is “intrusive,” particularly given the nature of the documents that Mr.
        Schobinger took and Twitter’s obligation to further investigate this matter. But let’s see if a phone call
        can help resolve our dispute. I have very good availability on Monday the 19 th before 6:00 pm
        (CST). Please let me know what works for you and I will send a meeting request.

        Thank you,




        Stefanie R. Moll
        Morgan, Lewis & Bockius LLP
        1000 Louisiana Street, Suite 4000 | Houston, TX 77002-5005
        Direct: +1.713.890.5780 | Main: +1.713.890.5000 | Fax: +1.713.890.5001 | Mobile: +1.832.452.4737
        stefanie.moll@morganlewis.com | www.morganlewis.com
        Assistant: Nanci D. Mohr | +1.713.890.5738 | nanci.mohr@morganlewis.com




                                                              1
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From: Shannon Liss-Riordan <sliss@llrlaw.com>
Sent: Saturday, June 17, 2023 7:58 AM
To: Moll, Stefanie R. <stefanie.moll@morganlewis.com>
Cc: Wallace, Thomas Cullen <cullen.wallace@morganlewis.com>; Bramble, John
<john.bramble@morganlewis.com>; Bradley Manewith <bmanewith@llrlaw.com>
Subject: Re: Mark Schobinger

[EXTERNAL EMAIL]

Stefanie - It is my understanding that Mr. Schobinger did not commit to any such intrusive review. He
has affirmed that he does not have any sensitive confidential materials. I'm happy to discuss with you
next week.

Shannon

-----------------------------
Shannon Liss-Riordan
Lichten & Liss-Riordan, P.C.
729 Boylston Street, Suite 2000
Boston, Massachusetts 02116
Tel: (617) 994-5800
Fax: (617) 994-5801
sliss@llrlaw.com
www.llrlaw.com




        On Jun 17, 2023, at 8:35 AM, Moll, Stefanie R. <stefanie.moll@morganlewis.com>
        wrote:



        Shannon,

        It is nice to “meet” you, at least electronically for now.

        My firm represents Twitter in this matter and Mr. Mehes forwarded me your email from
        this morning. As I’m sure Mr. Schobinger informed you, he readily agreed to host a
        team member from Twitter's information security (InfoSec) team at his home to confirm
        his statements (attached) that he is no longer "in possession of any Twitter sensitive or
        confidential information” despite having previously transferred such information to his
        personal computer and to his personal email address. His cooperation in this process is
        necessary in connection with our regulatory requirements to investigate this matter.

        Now that we know you are representing Mr. Schobinger, we of course want to
        coordinate InfoSec’s visit with you. Please provide us with dates early next week for the
        forensic review that work for Mr. Schobinger (and for you to the extent you would like
        to be present or at least available at that time).

        Thank you for your prompt attention to this matter.


                                                      2
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Stefanie R. Moll
Morgan, Lewis & Bockius LLP
1000 Louisiana Street, Suite 4000 | Houston, TX 77002-5005
Direct: +1.713.890.5780 | Main: +1.713.890.5000 | Fax: +1.713.890.5001 | Mobile:
+1.832.452.4737
stefanie.moll@morganlewis.com | www.morganlewis.com
Assistant: Nanci D. Mohr | +1.713.890.5738 | nanci.mohr@morganlewis.com




On Fri, Jun 16, 2023 at 5:26 AM Shannon Liss-Riordan <sliss@llrlaw.com> wrote:
 Adam -

 Please be advised that our firm represents Mark Schobinger, and we are in receipt of
 the exchange below and your attached letter. Mr. Schobinger has affirmed for you
 that he is not in possession of any Twitter sensitive or confidential materials.

 I trust that this takes care of your concern.

 Shannon Liss-Riordan
 Lichten & Liss-Riordan, P.C.
 729 Boylston Street, Suite 2000
 Boston, Massachusetts 02116
 Tel: (617) 994-5800
 Fax: (617) 994-5801
 sliss@llrlaw.com
 www.llrlaw.com

 Begin forwarded message:


                          From: Mark Schobinger
                          <markschobinger@gmail.com>
                          Date: June 13, 2023 at 3:45:30 PM EDT
                          To: Adam Mehes
                          <amehes@twitter.com>
                          Cc: Mark Schobinger
                          <markschobinger@gmail.com>
                          Subject: Cease and Desist

                          Adam,



                          Hi. I am acknowledging receipt of your
                          letter. I am not in possession of any
                          Twitter sensitive or confidential
                          information and have returned my
                          laptop. While employed I was asked to

                                                 3
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                 work on a variety of sensitive matters,
                 some of which required me to keep
                 local copies at the request of Mary
                 Hansbury in order to work
                 expeditiously on her timetable. I did
                 this during my tenure at Twitter, and
                 as a professional responded to
                 inquiries all the way through the date
                 my access was revoked. When I gave
                 notice, I was asked to make sure all
                 sensitive files or anything related to
                 various legal holds I was already on
                 were on goggle drive and/or box as
                 part of my transition. I complied with
                 that request. Reports, if any, that were
                 maintained locally were immediately
                 removed after confirming the files
                 existed on Twitter’s secure drives
                 (Google drive and/or box) to ensure I
                 departed with no Twitter documents
                 except for my pay slips and grant
                 agreement documents.
                 By receipt of this email, I confirm I do
                 not have access to any Twitter
                 sensitive documents.

                 Regards,
                 Mark



                 Regards,
                 Mark




                         On Jun 13, 2023, at
                         1:42 PM, Adam Mehes
                         <amehes@twitter.com
                         > wrote:




                         Dear Mark,


                         Please see the
                         attached letter. Feel
                         free to reach out to
                         me at this email or by
                         phone at 347-417-


                                    4
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 54 of 88
                       4940 if you have any
                       questions.


                       Thanks,
                       Adam




                                 5
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            EXHIBIT 8
                  Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 56 of 88


Bramble, John

From:                              Moll, Stefanie R.
Sent:                              Wednesday, June 28, 2023 2:18 PM
To:                                Shannon Liss-Riordan
Cc:                                Bradley Manewith; Bramble, John; Wallace, Thomas Cullen
Subject:                           Mark Schobinger Forensic Protocol
Attachments:                       Proposed Forensic Protocol (Twitter - Schobinger).pdf


Shannon,

In follow up to our last conversation, I am attaching a draft forensic protocol. The protocol contemplates that both sides
will be involved in selecting a third-party forensic analyst to perform the analysis and that Twitter, of course, will cover
the costs associated with Mr. Schobinger’s compliance with the protocol.

The protocol is narrowly tailored and limited to Twitter documents that were most likely in Mr. Schobinger’s possession
when he resigned and later when we sent our preservation letter, particularly including documents that Mr. Schobinger
accessed during the weeks leading up to his resignation and folders that Mr. Schobinger uploaded to his Google Drive
during the months, weeks, and days leading up to his resignation, as reflected by our internal preliminary analysis.

As discussed during our call, many of these documents include highly sensitive compensation information and Mr.
Schobinger’s cooperation is necessary in connection with our regulatory requirements to investigate this
matter. Consistent with the narrow scope of the protocol, however, we have no interest in viewing or accessing Mr.
Schobinger’s personal documents, including those related to his employment with Twitter. The attached protocol
reflects that.

Moreover, to ensure that Mr. Schobinger has not shared any of Twitter’s sensitive information either by transmitting
hard copy documents or by word-of-mouth, Twitter also requests that Mr. Schobinger submit a declaration stating as
much, which we would be happy to draft.

Let’s work toward selecting a forensic analyst by this Friday, June 30. There are a number of competent ones in the area
who we could retain. I will make myself available to connect with you before then if you would like to discuss any aspect
of the protocol.

Thank you very much for your attention to this matter.


Stefanie R. Moll
Morgan, Lewis & Bockius LLP
1000 Louisiana Street, Suite 4000 | Houston, TX 77002-5005
Direct: +1.713.890.5780 | Main: +1.713.890.5000 | Fax: +1.713.890.5001
Assistant: Nanci Mohr | +1.713.890.5738 | nanci.mohr@morganlewis.com

1717 Main Street, Suite 3200 | Dallas, TX 75201-7347
Direct: +1.214.466.4113 | Main: +1.214.466.4000 | Fax: +1.214.466.4001
stefanie.moll@morganlewis.com | www.morganlewis.com




                                                              1
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 57 of 88




                               2
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            EXHIBIT 9
      Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 59 of 88




                      PROPOSED FORENSIC PROTOCOL
                           MARK SCHOBINGER

1.   Schobinger and Twitter (collectively, the “Parties”) will select a third-party
     forensic analyst (“Forensic Analyst”) to identify and remove certain
     documents and data from any personal computer, mobile device used to
     conduct Twitter business, electronic storage device, email account, and
     cloud storage account (“Devices and Accounts”) that Schobinger used from
     April 25, 2023 to the present (the “Protocol”). The Parties shall select the
     Forensic Analyst no later than Friday, June 30, 2023.

2.   Schobinger will cooperate with the Forensic Analyst to carry out the terms
     of this Protocol, including by providing the Forensic Analyst with access to
     the Devices and Accounts.

3.   The Forensic Analyst shall create and maintain a forensic image of the
     Devices and Accounts before segregating, altering, or deleting any
     documents or data from the Devices and Accounts.

4.   The Forensic Analyst will search the Devices and Accounts for all emails
     originating from mschobinger@twitter.com and will provide the Parties’
     counsel with a file listing identifying all responsive emails. The file listing
     will be treated as attorneys’ eyes only. The Forensic Analyst will make and
     provide to Twitter forensic copies of these emails and any attachments and
     the originals will be permanently deleted from the Devices and Accounts
     unless Schobinger objects and provides a good-faith, reasonable basis why
     such emails and attachments are personal in nature rather than
     proprietary to Twitter.

5.   The Forensic Analyst will search the Devices and Accounts for all
     documents that include “Twitter” in the filename or any metadata field of
     the document and will provide the Parties’ counsel with a file listing
     identifying all responsive documents. The file listing will be treated as
     attorneys’ eyes only. The Forensic Analyst will make and provide to
     Twitter forensic copies of these documents and the originals will be
     permanently deleted from the Devices and Accounts unless Schobinger
     objects and provides a good-faith, reasonable basis why such documents
     are personal in nature rather than proprietary to Twitter.

6.   Twitter will provide the Forensic Analyst with the MD#5 values of the
     documents that Schobinger downloaded in the weeks leading up to his
     resignation, as detailed in Exhibit 1, and the Forensic Analyst will search
       Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 60 of 88




      for and, if found, make and provide to Twitter forensic copies of such
      documents and permanently delete the originals from the Devices and
      Accounts.

7.    The Forensic Analyst will search the Devices and Accounts for the folders
      and file that Schobinger uploaded to his Google Drive account in the
      months leading up to his resignation, as detailed in Exhibit 2, and the
      Forensic Analyst will search for and, if found, make and provide to Twitter
      forensic copies of such folders and file and permanently delete the
      originals from the Devices and Accounts unless Schobinger objects and
      provides a good-faith, reasonable basis for why such folders and file are
      personal in nature rather than proprietary to Twitter.

8.    After all documents and data set forth in paragraphs 4 through 7, and
      Exhibits 1 and 2, of this Protocol have been deleted from the Devices and
      Accounts, as identified in the Protocol, including any backups, shadow
      volumes, recycle bin contents, and free space, the Forensic Analyst will
      certify to the Parties’ counsel that it completed the deletions pursuant to
      this Protocol.

9.    No later than one month after the Forensic Analyst certifies that it
      completed the deletions pursuant to this Protocol and provided to Twitter
      forensic copies of the documents and data set forth in paragraphs 4
      through 7, and Exhibits 1 and 2, of this Protocol, the Forensic Analyst will
      permanently delete all forensic images in its possession and will certify to
      the Parties’ counsel that it has deleted such forensic images.

10.   Twitter will cover the expense of Schobinger complying with this Protocol.
 Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 61 of 88




                         EXHIBIT 1
                    DOWNLOAD FILE NAMES


1.    TWTR_Lapse_Schedule_Report.zip

2.    TWTR_Grant_Award_052423.xlsx

3.    Phase One_ Comp Planning Master [March 2023].xlsx

4.    AON CONSULTING INC_Compensation Survey 22 - signed (1).pdf

5.    JobFamilyReport - 5_24_2023 9_6_20 AM.xlsx

6.    FAQ for Separated Twitter Employees.pdf

7.    FAQ for Separated Twitter Employees.docx

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      October 2022.pdf

9.    A_C [POST CLOSE - DRAFT] Twitter acquisition_ Tweep FAQ -
      October 2022.docx

10.   VestingSchedule (3).xlsx

11.   Client Attorney Privileged - France EE Listing.xlsx

12.   CR - Compensation Detail Report_Compton 05222023 2023-05-22
      09_18 CDT.xlsx

13.   Go_COBRA FAQ .docx

14.   Go_COBRA FAQ (2).docx

15.   Twitter Private Company Long-Term Incentive Programs and
      Strategy - October 2022 (1).pdf

16.   TWTR_GrantActivity_20230518 (1).xlsx

17.   TWTR_GrantActivity_20230518.xlsx

18.   2022 Annual Plan Legal Notice.pdf

19.   Twitter_Inc-SMM 1-1-2022.pdf
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 62 of 88




20.   401(k) Plan Highlights 2021.pdf

21.   401(k) FAQs .docx

22.   401(k) FAQs .pdf

23.   Twitter Inc SPD 1-1-2022.pdf

24.   document (2).pdf

25.   document (1).pdf

26.   TWTR_LapseSchedule_20230517 (1).zip

27.   TWTR_LapseSchedule_20230517.zip

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29.   VestingSchedule (2).xlsx

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      Achieved.docx

31.   US RIF & Opt Outs who have not Signed Sep Agreements.xlsx

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33.   VestingSchedule (2).xlsx

34.   PBP_FAQs.docx

35.   PBP_Examples of Mechanics.docx

36.   Twitter 2.0 - Compensation + Equity.pptx

37.   Twitter 2.0 Compensation One Pager.docx

38.   Restricted Stock Units.html

39.   PBP.html

40.   Base Salary.html

41.   Compensation cycles.html

42.   Payout.html
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 63 of 88




43.   Target Quota Model.html

44.   Revenue Share Model.html

45.   Sales Incentive Plan.html

46.   How we think about compensation.html

47.   How we think about compensation.html

48.   Our global approach to pay.html

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Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 64 of 88




66.   2022_Radford_GCD_JobList_and_Descriptions (1).xlsx

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82.   2022 Market Pricing Enhancement Tool Development (Bianco).xlsx

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84.   Salary adjustment CCT 2023 - TWITTER.XLSX

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86.   TWTR_LapseSchedule_20230505.xlsx

87.   Phase Two_ Equity Planning Master [April 2023].xlsx

88.   Phase Two_ Equity Planning Master [April 2023].xlsx
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 65 of 88




89.   Q1-2023 Sales Incentive (go_q1salesincentive) (1).xlsx

90.   Q1-2023 Sales Incentive (go_q1salesincentive) (1).xlsx

91.   CR - Compensation Detail Report_Compton 05052023 2023-05-05
      12_02 CDT.xlsx

92.   CR - Compensation Detail Report_Compton 05052023 2023-05-05
      12_02 CDT.xlsx
 Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 66 of 88




                          EXHIBIT 2
                UPLOAD FILE AND FOLDER NAMES

1.   401k

2.   Benchmarking

3.   Comp Cmte Meetings

4.   Finals

5.   HR Transition 2022-2023

6.   Playbooks

7.   Projects

8.   Reports

9.   Go_COBRA FAQ .docx
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 67 of 88




           EXHIBIT 10
                  Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 68 of 88


Bramble, John

From:                               Moll, Stefanie R.
Sent:                               Thursday, June 29, 2023 4:57 PM
To:                                 Shannon Liss-Riordan
Cc:                                 Wallace, Thomas Cullen; Bramble, John; Bradley Manewith
Subject:                            RE: Mark Schobinger Forensic Protocol


Shannon,

Our preliminary forensic analysis shows that Mr. Schobinger improperly sent sensitive and highly confidential Twitter
documents to his personal email address. He also uploaded confidential Twitter documents to his personal Google Drive
account. He did this in the months, weeks, and days leading up to his resignation. His actions were in breach of
Twitter’s policies and there is no reason connected to company purposes or his work that would explain his actions. So
while I appreciate Mr. Schobinger’s unsworn representations that he no longer has these documents, the evidence
demonstrates otherwise and we will ask a court to protect the information in those documents and folders if Mr.
Schobinger is unwilling to do so on his own.

We understand your response below to mean that Mr. Schobinger will not be complying with the proposed protocol and
that you will not be proposing a revised protocol. If that is incorrect, please let us know by Wednesday, July 5.
Otherwise, please let us know by that date who at your office will be handling this matter in your absence since we will
have no choice but to go to court next week.

Thank you,


Stefanie R. Moll
Morgan, Lewis & Bockius LLP
1000 Louisiana Street, Suite 4000 | Houston, TX 77002-5005
Direct: +1.713.890.5780 | Main: +1.713.890.5000 | Fax: +1.713.890.5001 | Mobile: +1.832.452.4737
stefanie.moll@morganlewis.com | www.morganlewis.com
Assistant: Nanci D. Mohr | +1.713.890.5738 | nanci.mohr@morganlewis.com




From: Shannon Liss-Riordan <sliss@llrlaw.com>
Sent: Thursday, June 29, 2023 1:14 PM
To: Moll, Stefanie R. <stefanie.moll@morganlewis.com>
Cc: Bradley Manewith <bmanewith@llrlaw.com>; Bramble, John <john.bramble@morganlewis.com>; Wallace, Thomas
Cullen <cullen.wallace@morganlewis.com>
Subject: RE: Mark Schobinger Forensic Protocol

[EXTERNAL EMAIL]
Stefanie -

                                                               1
                  Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 69 of 88


As Mr. Schobinger explained, and I have reiterated on his behalf, he does not have any confidential sensitive files from
Twitter. I am leaving on vacation this weekend and will be away for two weeks, and he is also not available next week.
We don’t see what legal basis you have to force him to go through this protocol.

Shannon Liss-Riordan
Lichten & Liss-Riordan, P.C.
729 Boylston Street, Suite 2000
Boston, MA 02116
Tel: (617) 994-5800
Fax: (617) 994-5801
sliss@llrlaw.com
www.llrlaw.com
From: Moll, Stefanie R. <stefanie.moll@morganlewis.com>
Sent: Wednesday, June 28, 2023 3:18 PM
To: Shannon Liss-Riordan <sliss@llrlaw.com>
Cc: Bradley Manewith <bmanewith@llrlaw.com>; Bramble, John <john.bramble@morganlewis.com>; Wallace, Thomas
Cullen <cullen.wallace@morganlewis.com>
Subject: Mark Schobinger Forensic Protocol

Shannon,

In follow up to our last conversation, I am attaching a draft forensic protocol. The protocol contemplates that both sides
will be involved in selecting a third-party forensic analyst to perform the analysis and that Twitter, of course, will cover
the costs associated with Mr. Schobinger’s compliance with the protocol.

The protocol is narrowly tailored and limited to Twitter documents that were most likely in Mr. Schobinger’s possession
when he resigned and later when we sent our preservation letter, particularly including documents that Mr. Schobinger
accessed during the weeks leading up to his resignation and folders that Mr. Schobinger uploaded to his Google Drive
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As discussed during our call, many of these documents include highly sensitive compensation information and Mr.
Schobinger’s cooperation is necessary in connection with our regulatory requirements to investigate this matter.
Consistent with the narrow scope of the protocol, however, we have no interest in viewing or accessing Mr.
Schobinger’s personal documents, including those related to his employment with Twitter. The attached protocol
reflects that.

Moreover, to ensure that Mr. Schobinger has not shared any of Twitter’s sensitive information either by transmitting
hard copy documents or by word-of-mouth, Twitter also requests that Mr. Schobinger submit a declaration stating as
much, which we would be happy to draft.

Let’s work toward selecting a forensic analyst by this Friday, June 30. There are a number of competent ones in the area
who we could retain. I will make myself available to connect with you before then if you would like to discuss any aspect
of the protocol.

Thank you very much for your attention to this matter.


Stefanie R. Moll
Morgan, Lewis & Bockius LLP
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                                                              2
                  Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 70 of 88
Assistant: Nanci Mohr | +1.713.890.5738 | nanci.mohr@morganlewis.com

1717 Main Street, Suite 3200 | Dallas, TX 75201-7347
Direct: +1.214.466.4113 | Main: +1.214.466.4000 | Fax: +1.214.466.4001
stefanie.moll@morganlewis.com | www.morganlewis.com




                                                              3
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           EXHIBIT 11
 Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 72 of 88




                    DOWNLOAD FILE NAMES

1.    TWTR_Lapse_Schedule_Report.zip

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20.   401(k) Plan Highlights 2021.pdf
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 73 of 88




21.   401(k) FAQs .docx

22.   401(k) FAQs .pdf

23.   Twitter Inc SPD 1-1-2022.pdf

24.   document (2).pdf

25.   document (1).pdf

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37.   Twitter 2.0 Compensation One Pager.docx

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39.   PBP.html

40.   Base Salary.html

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42.   Payout.html

43.   Target Quota Model.html
Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 74 of 88




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45.   Sales Incentive Plan.html

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47.   How we think about compensation.html

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Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 75 of 88




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Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 76 of 88




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Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 77 of 88




           EXHIBIT 12
 Case 1:23-cv-00778-RP Document 1-1 Filed 07/11/23 Page 78 of 88




                    UPLOAD FOLDER NAMES

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7.   Projects

8.   Reports
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Nanci Mohr on behalf of Stefanie Moll
Bar No. 24002870
nanci.mohr@morganlewis.com
Envelope ID: 77280820
Filing Code Description: Petition
Filing Description: X Corp's Verified Original Petition and Application for
Temporary Restraining Order, Temporary Injunction and Permanent
Injunction-EV# 77280820
Status as of 7/7/2023 10:20 AM CST

Associated Case Party: X CORP., Successor in Interest to Twitter, Inc

Name                   BarNumber Email                           TimestampSubmitted     Status

Stefanie R.Moll                  stefanie.moll@morganlewis.com   7/6/2023 10:39:46 PM   SENT

Thomas CullenWallace             cullen.wallace@morganlewis.com 7/6/2023 10:39:46 PM    SENT

John Bramble                     john.bramble@morganlewis.com    7/6/2023 10:39:46 PM   SENT

Nanci Mohr                       nanci.mohr@morganlewis.com      7/6/2023 10:39:46 PM   SENT
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                                        23-1074-C395
                              CAUSE NO. ____________

X CORP., SUCCESSOR IN INTEREST                §          IN THE DISTRICT COURT OF
TO TWITTER, INC.                              §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §          WILLIAMSON COUNTY, TEXAS
                                              §
MARK SCHOBINGER                               §
                                              §
       Defendant.                             §          ____ JUDICIAL DISTRICT


                       TEMPORARY RESTRAINING ORDER

       Plaintiff X Corp., successor in interest to Twitter, Inc. (“Twitter”), filed a Verified

Petition and Application for Temporary Restraining Order, Temporary Injunction, and

Permanent Injunction (“TRO Application”) against Defendant Mark Schobinger

(“Schobinger”). Having considered Twitter’s TRO Application, the evidence attached

thereto, and argument of counsel, the Court finds that the TRO Application shall be in all

things GRANTED.

       Based on the evidence and verified allegations in Twitter’s TRO Application, the

Court preliminarily finds that: (i) Schobinger received access to Twitter’s confidential and

sensitive information during his employment with Twitter; (ii) Schobinger downloaded

documents containing Twitter’s confidential and sensitive information and transmitted

such documents to his personal email and personal Google Drive accounts during the

months, weeks, and days before his employment ended; (iii) Schobinger also maintained

on his personal Google Drive account a folder entitled “Work,” with numerous subfolders

relating to his work with Twitter; (iv) when confronted, Schobinger admitted to Twitter

that he transmitted Twitter documents to his personal email and personal Google Drive

accounts but further stated that he deleted such documents; (v) Schobinger admitted to

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deleting at least some of these documents after receiving Twitter’s preservation demand;

(vi) Schobinger agreed to submit to a forensic review to confirm he deleted Twitter’s

information from his devices and accounts; (vii) after obtaining counsel, however,

Schobinger reneged on his agreement to submit to a forensic review and refused to

provide Twitter with any sworn statement that he actually deleted and did not disclose its

confidential and sensitive information; and (viii) Schobinger is in a position to use such

information to his benefit and to Twitter’s and its employees’ detriment. Based on the

foregoing, the Court finds that Twitter will suffer probable, imminent, and irreparable

harm if the Court does not enter a temporary restraining order.

       To preserve the status quo until a hearing on Twitter’s Temporary Injunction

Application, the Court ORDERS that Schobinger and all others acting in concert with

him are restrained from:

       a.     directly or indirectly possessing, using, or disclosing the documents and
              folders listed in Exhibits 1 and 2; and

       b.     directly or indirectly possessing, using, or disclosing information in the
              documents and folders listed in Exhibits 1 and 2.

For the avoidance of doubt, this Order restrains neither Schobinger nor others acting in

concert with Schobinger from seeking discovery from Twitter pursuant to the procedural

rules of the court presiding over the putative class action lawsuit Schobinger filed against

Twitter in the US District Court for the Northern District of California – San Francisco

Division (the “Lawsuit”), or from using such discovery if obtained in the Lawsuit, nor does

it restrain Twitter from asserting any objections to such discovery in the Lawsuit.

       It is further ORDERED that Twitter file a bond in the amount of

$____________ with the Clerk of the Court.




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       It is further ORDERED that Twitter’s Temporary Injunction Application is set for

hearing on July __, 2023 at ____ a.m./p.m. in this Court. The purpose of the hearing is

to determine whether this temporary restraining order should be made a temporary

injunction pending a full trial on the merits.

       This Temporary Restraining Order expires on July ___, 2023.

       EXECUTED this ____ day of ____, 2023, at _______ a.m./p.m.



                                                 ___________________________
                                                        PRESIDING JUDGE




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                          EXHIBIT 1
                     DOWNLOAD FILE NAMES

1.    TWTR_Lapse_Schedule_Report.zip
2.    TWTR_Grant_Award_052423.xlsx
3.    Phase One_ Comp Planning Master [March 2023].xlsx
4.    AON CONSULTING INC_Compensation Survey 22 - signed (1).pdf
5.    JobFamilyReport - 5_24_2023 9_6_20 AM.xlsx
6.    FAQ for Separated Twitter Employees.pdf
7.    FAQ for Separated Twitter Employees.docx
8.    A_C [POST CLOSE - DRAFT] Twitter acquisition_ Tweep FAQ - October
      2022.pdf
9.    A_C [POST CLOSE - DRAFT] Twitter acquisition_ Tweep FAQ - October
      2022.docx
10.   VestingSchedule (3).xlsx
11.   Client Attorney Privileged - France EE Listing.xlsx
12.   CR - Compensation Detail Report_Compton 05222023 2023-05-22 09_18
      CDT.xlsx
13.   Go_COBRA FAQ .docx
14.   Go_COBRA FAQ (2).docx
15.   Twitter Private Company Long-Term Incentive Programs and Strategy -
      October 2022 (1).pdf
16.   TWTR_GrantActivity_20230518 (1).xlsx
17.   TWTR_GrantActivity_20230518.xlsx
18.   2022 Annual Plan Legal Notice.pdf
19.   Twitter_Inc-SMM 1-1-2022.pdf
20.   401(k) Plan Highlights 2021.pdf
21.   401(k) FAQs .docx
22.   401(k) FAQs .pdf
23.   Twitter Inc SPD 1-1-2022.pdf
24.   document (2).pdf
25.   document (1).pdf
26.   TWTR_LapseSchedule_20230517 (1).zip
27.   TWTR_LapseSchedule_20230517.zip
28.   VestingSchedule (2).xlsx

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29.   VestingSchedule (2).xlsx
30.   Execs - PRSU - Waiver of Performance Metrics - Considered
      Achieved.docx
31.   US RIF & Opt Outs who have not Signed Sep Agreements.xlsx
32.   NEW_WFH Policy (Twitter 2.0).docx
33.   VestingSchedule (2).xlsx
34.   PBP_FAQs.docx
35.   PBP_Examples of Mechanics.docx
36.   Twitter 2.0 - Compensation + Equity.pptx
37.   Twitter 2.0 Compensation One Pager.docx
38.   Restricted Stock Units.html
39.   PBP.html
40.   Base Salary.html
41.   Compensation cycles.html
42.   Payout.html
43.   Target Quota Model.html
44.   Revenue Share Model.html
45.   Sales Incentive Plan.html
46.   How we think about compensation.html
47.   How we think about compensation.html
48.   Our global approach to pay.html
49.   Separation Agreement Request (Global) Responses (1).xlsx
50.   Q1-2023 Sales Incentive (go_q1salesincentive) (2).xlsx
51.   RGCD-Data-Validation-Report.pdf
52.   RGCD-Data-Validation-Report.pdf
53.   2023_RGCD_Job_Catalogue.pdf
54.   2023_RGCD_Job_Catalogue.pdf
55.   2022_Radford_GCD_Functional_Job_Matrix (1).xlsx
56.   2022_Radford_GCD_Functional_Job_Matrix (1).xlsx
57.   2022_Radford_GCD_YOY_Mapping (1).xlsx
58.   2022_Radford_GCD_YOY_Mapping (1).xlsx
59.   2022_Radford_GCD_YOY_Mapping.xlsx
60.   2022_Radford_GCD_YOY_Mapping.xlsx

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61.   2022_Radford_GCD_Roll_Up_Jobs_Detailed_Definitions.xlsx
62.   2022_Radford_GCD_Roll_Up_Jobs_Detailed_Definitions.xlsx
63.   2022_Radford_GCD_Roll_Up_Jobs_Definitions (1).xlsx
64.   2022_Radford_GCD_Roll_Up_Jobs_Definitions (1).xlsx
65.   2022_Radford_GCD_JobList_and_Descriptions (1).xlsx
66.   2022_Radford_GCD_JobList_and_Descriptions (1).xlsx
67.   2022_Radford_GCD_Job_Family_Descriptions.docx
68.   2022_Radford_GCD_Job_Family_Descriptions.docx
69.   2022_Radford_GCD_Functional_Job_Matrix.xlsx
70.   2022_Radford_GCD_Functional_Job_Matrix.xlsx
71.   2023_Radford_GCD_YOY_Job_Mapping.xlsx
72.   2023_Radford_GCD_YOY_Job_Mapping.xlsx
73.   2023_Radford_GCD_Job_Family_Descriptions.docx
74.   2023_Radford_GCD_Job_Family_Descriptions.docx
75.   2023-Radford_GCD_Functional_Job_Matrix.xlsx
76.   2023-Radford_GCD_Functional_Job_Matrix.xlsx
77.   JobFamilyReport - 5_8_2023 18_36_28 PM.xlsx
78.   JobFamilyReport - 5_8_2023 18_36_28 PM.xlsx
79.   Phase Two_ Equity Planning Master [April 2023] (1).xlsx
80.   Phase Two_ Equity Planning Master [April 2023] (1).xlsx
81.   2022 Market Pricing Enhancement Tool Development (Bianco).xlsx
82.   2022 Market Pricing Enhancement Tool Development (Bianco).xlsx
83.   Salary adjustment CCT 2023 - TWITTER.XLSX
84.   Salary adjustment CCT 2023 - TWITTER.XLSX
85.   TWTR_LapseSchedule_20230505.xlsx
86.   TWTR_LapseSchedule_20230505.xlsx
87.   Phase Two_ Equity Planning Master [April 2023].xlsx
88.   Phase Two_ Equity Planning Master [April 2023].xlsx
89.   Q1-2023 Sales Incentive (go_q1salesincentive) (1).xlsx
90.   Q1-2023 Sales Incentive (go_q1salesincentive) (1).xlsx
91.   CR - Compensation Detail Report_Compton 05052023 2023-05-05 12_02
      CDT.xlsx



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92.   CR - Compensation Detail Report_Compton 05052023 2023-05-05 12_02
      CDT.xlsx




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                         EXHIBIT 2
                       FOLDER NAMES

1.   401k
2.   Benchmarking
3.   Comp Cmte Meetings
4.   Finals
5.   HR Transition 2022-2023
6.   Playbooks
7.   Projects
8.   Reports




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Nanci Mohr                       nanci.mohr@morganlewis.com      7/6/2023 10:39:46 PM   SENT
